Case 1:20-cv-01003-MEF Document 18                Filed 10/19/20 Page 1 of 1 PageID #: 1204




                         IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF ARKANSAS
                                 EL DORADO DIVISION

TERESA TURNER-PORCHIA                                                               PLAINTIFF

       v.                             CIVIL NO. 1:20-cv-1003-MEF

ANDREW SAUL, Commissioner,
Social Security Administration                                                      DEFENDANT


                         MEMORANDUM OPINION AND ORDER

       Plaintiff, Teresa Turner-Porchia, brings this action pursuant to 42 U.S.C. § 405(g) seeking

judicial review of a decision of the Commissioner of Social Security Administration (the

“Commissioner”). (ECF No. 2). On October 19, 2020, Plaintiff filed a Motion to Dismiss stating

she no longer wishes to prosecute the suit. (ECF No. 17). Accordingly, Plaintiff’s Motion to

Dismiss is hereby granted, and the clerk is directed to dismiss Plaintiff’s case without prejudice.

       DATED this 19th day of October, 2020.

                                              /s/Mark E. Ford
                                              HONORABLE MARK E. FORD
                                              UNITED STATES MAGISTRATE JUDGE
